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                      UNITED STATES BANKRUPTCY COURT
                        WESTERN DISTRICT OF VIRGINIA
                                          Lynchburg Division

In re:

Stephen Labus                                                  Case No. 19-60513-RBC

         Debtor.                                               Chapter 13


              NOTICE OF HEARING ON MOTION FOR RELIEF FROM STAY

         TAKE NOTICE, that Americredit Financial Services, Inc. dba GM Financial, a secured

creditor in the above-referenced bankruptcy action, has filed with the United States Bankruptcy

Court for the Western District of Virginia, Lynchburg Division, a Motion for Relief from Stay, a

copy of said Motion is attached hereto.

         NOTICE IS HEREBY GIVEN that a hearing on this Motion will be convened on May 9,

2019 at 9:30 AM.        The hearing will be held at the United States Bankruptcy Court,

Charlottesville, Room 200, US Courthouse, 255 W. Main Street, Charlottesville, VA 22902.

         Plaintiff waives the 30-day limit imposed by 11 U.S.C. § 362 (e), and consents to the

extension of the automatic stay imposed by 11 U.S.C. § 362 (a) beyond the thirty-day limit to the

date of any preliminary hearing or final hearing scheduled on Plaintiff’s Motion for Relief;

provided that nothing in this consent shall be deemed to consent to the further extension of the

automatic stay in the event that the stay shall otherwise be terminated under the provisions of 11

U.S.C. § 362 (c).

Sara A. John, VSB #48425
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Counsel for Americredit Financial Services, Inc. dba GM Financial
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                                             Americredit Financial Services, Inc. dba GM
                                             Financial


                                              /s/ Sara A. John
                                             Sara A. John
                                             M. Richard Epps, P.C.




                                       Certificate of Service

       I hereby certify that on April 2, 2019, I mailed or electronically served a true copy of the
foregoing Notice of Hearing to: Stephen Labus, 14276 Miller Road, Orange, VA 22960; Herbert
L. Beskin, Trustee, P.O. Box 2103, Charlottesville, VA 22902; and William T. Harville, Counsel
to Debtor, 327 W. Main St., #3, Charlottesville, VA 22903.


                                              /s/ Sara A. John
                                             Sara A. John
                                             M. Richard Epps, P.C.
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                       UNITED STATES BANKRUPTCY COURT
                         WESTERN DISTRICT OF VIRGINIA
                                        Lynchburg Division

In re:

Stephen Labus                                                  Case No. 19-60513-RBC

         Debtor.                                               Chapter 13


Americredit Financial Services, Inc. dba GM Financial,

         Plaintiff,

v.

Stephen Labus
and
Herbert L. Beskin, Trustee,

         Defendants.

                              MOTION FOR RELIEF FROM STAY

         NOW COMES Americredit Financial Services, Inc. dba GM Financial, by counsel, and for

its Motion for Relief from Stay against Debtor states as follows:

1.       This Court has jurisdiction over the matters herein alleged pursuant to 28 U.S.C. § 1334.

This matter constitutes a core proceeding within the meaning of 28 U.S.C. § 157 and is a

contested matter under Rules 4001 and 9014 of the Federal Rules of Bankruptcy Procedure.

2.       That on March 11, 2019, Debtor filed a Chapter 13 bankruptcy. Debtor has filed a Chapter

13 plan.

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3.       That Plaintiff is a secured creditor of Debtor pursuant to the terms of a retail installment

contract and security agreement dated June 5, 2018 being secured by a lien on a 2018 CHEVROLET

CRUZE, VIN 1G1BE5SM0J7219503 (the “vehicle”), said lien having been duly noted on the

certificate of title.

4.       That under the terms of the plan, Debtor proposed to surrender the vehicle.

5.       Debtor is in default in the making of the payments and is presently past due for the

December 5, 2018 through March 5, 2019 payments for arrearages totaling $1,737.22, with a payoff

of approximately $29,844.67 on the account. The vehicle has a NADA book retail value of

$16,400.00.

6.       That Plaintiff lacks adequate protection.

7.       For the above and foregoing reasons, Plaintiff asserts that cause exists sufficient to waive

the requirement of Bankruptcy Rule 4001(a) (3), therefore allowing the Order granting the relief

sought to be effective upon its entry.

         WHEREFORE, Plaintiff moves the Court for relief from the automatic stay pursuant to 11

U.S.C. § 362 so that it may proceed under state law.


                                                Americredit Financial Services, Inc. dba GM
                                                Financial


                                                 /s/ Sara A. John
                                                Sara A. John
                                                M. Richard Epps, P.C.
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                                       Certificate of Service

       I hereby certify that on April 2, 2019, I mailed or electronically served a true copy of the
foregoing Motion for Relief from Stay to: Stephen Labus, 14276 Miller Road, Orange, VA 22960;
William T. Harville, Counsel for Debtor, 327 W. Main St., #3, Charlottesville, VA 22903; and
Herbert L. Beskin, Trustee, P.O. Box 2103, Charlottesville, VA 22902.


                                              /s/ Sara A. John
                                             Sara A. John
                                             M. Richard Epps, P.C.




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